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United States Marshals Service See "Instructions for Service of Process by U.S Marshal"
EE a a ah FF I
PLAINTIFF COURT CASE NUMBER
MUNIR ABDULKADER 19-cv-02199-AB]
DEFENDANT PYPE OF PROCESS
DONALD TRUMP et al. Summons & Complaint

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE SUSAN B. GERSON, Office of the US Attorneys. FOIA/Privacy Unit

 

 

AT ADDRESS (Street or RED, Apartment No. City: State and ZIP Code)
600 E. St. NW Room 7300 Washington, DC 20530
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be I

 

served with this Form 285

MUNIR ABDULKADER — R#73031-061

ALLENWOOD MEDIUM FEDERAL CORRECTIONAL INSTITUTION
P.O. BOX 2000 Check for service

WHITE DEER, PA 17887 onUSA

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (lactude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Signature of Attomey other Origytator requesting service an behalf of [Xx] PLAINTIFF TELEPHONE NUMBER DATE
( (_] DEFENDANT (202) 354-3120 8 lailt9

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

Lacknowledge receipt for the total | Total Process

 

Number of parties to be
served in this case

6

 

 

 

 

 

 

 

District of District to Signature of Authorized USMS Deputy or Clerk Date
Origin Serve

number of process indicated | VW, / ;
(Siren only for USM ISS if more b | ? g Fi
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than one USM 285 is submitted) | No fi b | No x Sj =a) / z / 7

 

 

 

 

Thereby certuty and return that! ([) have personally served , (F) have legal evidence of service. (have executed as shown in “Remarks”, the process described on the
individual, company, corporation, ete , al the address shown above on the on the individual, company, corporation, etc shown at the address inserted below

 

A Thereby certify and return that | aim unable to locate the individual, company, corporation, ele named above (See remarks below)

 

 

 

 

 

Name and title of individual served (ifnot shown above) Date Time LJ am
LJ pm

|

Address fcomplete only different than shown above) | Signature of US. Marshal or Deputy
La
L Dra IA Fi/

Service Fee Total Mileage Charges Forwarding Fee Fotal Charges Advance Deposits Amount owed to US Marshal* or

fineluding endvavars) (Amount of Relund*)

 

 

 

 

 

 

 

REMARKS

tK-onWG Addresr
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OCT 01 2019

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Clerk, U.S. District & Bankruptcy Rev IIB

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PRIOR VERSIONS OF THIS FORM ARE OBSOLETI Courts for the District of Columbia
